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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,

                   Plaintiff,



v.                                    MEMORANDUM OF LAW & ORDER
                                      Criminal File No. 12-253 (MJD/JSM)

(8) DEON DIMITRI MCGHEE,

                   Defendant.

Thomas M. Hollenhorst, Assistant United States Attorney, Counsel for Plaintiff.

Kurt B. Glaser, Smith & Glaser, LLC, Counsel for Defendant.

I.    INTRODUCTION

      This matter is before the Court on Defendant Deon Dimitri McGhee’s

Motion to Alter Judgment of Sentence. [Docket No. 533]

II.   BACKGROUND

      On October 15, 2012, an Indictment was filed in the District of Minnesota

charging Defendant Deon Dimitri McGhee and ten co-defendants in a drug

conspiracy case. [Docket No. 1] On January 23, 2013, Defendant pled guilty to a

lesser included offense to Count 1 of the Indictment: Conspiracy to Distribute at



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Least 100 Grams but Less than 1 Kilogram of Heroin, in violation of 21 U.S.C. §§

841(a)(1), (b)(1)(B), and 846.

       On September 24, 2014, the Court sentenced Defendant to sixty months in

prison, followed by four years of supervised release. [Docket Nos. 448, 453] The

federal sentence did not state that it was concurrent to any state sentence.

Defendant did not file a direct appeal.

       On March 12, 2014, Defendant filed a pro se Motion to Vacate, Set Aside,

or Correct Sentence Pursuant to 28 U.S.C. Section 2255. [Docket No. 471] On

August 13, 2014, the Court denied the motion. [Docket No. 485] Defendant did

not appeal the denial.

       On July 9, 2015, Defendant filed the instant motion for relief pursuant to 28

U.S.C. § 2255 and alternatively pursuant to 28 U.S.C. § 2241, on the grounds that

his sentence should be modified to run his state and federal sentences

concurrently and that the Bureau of Prisons has improperly denied him credit for

time spent in jail serving a state sentence. [Docket No. 533]

III.   DISCUSSION

       A.    Relief under 28 U.S.C. § 2255

       28 U.S.C. § 2255(a) provides:



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      A prisoner in custody under sentence of a court established by Act
      of Congress claiming the right to be released upon the ground that
      the sentence was imposed in violation of the Constitution or laws of
      the United States, or that the court was without jurisdiction to
      impose such sentence, or that the sentence was in excess of the
      maximum authorized by law, or is otherwise subject to collateral
      attack, may move the court which imposed the sentence to vacate,
      set aside or correct the sentence.

             Relief under 28 U.S.C. § 2255 is reserved for transgressions of
      constitutional rights and for a narrow range of injuries that could
      not have been raised on direct appeal and, if uncorrected, would
      result in a complete miscarriage of justice. A movant may not raise
      constitutional issues for the first time on collateral review without
      establishing both cause for the procedural default and actual
      prejudice resulting from the error.

United States v. Apfel, 97 F.3d 1074, 1076 (8th Cir. 1996) (citation omitted). A

petitioner is entitled to an evidentiary hearing on a § 2255 motion, “[u]nless the

motion and the files of the case conclusively show that the prisoner is entitled to

no relief.” 28 U.S.C. § 2255(b).

      Section 2255(h) provides that a petitioner must obtain certification from the

appropriate court of appeals before filing a second or successive motion.

Defendant filed a previous § 2255 petition on March 12, 2014 [Docket No. 471];

that petition was denied by the Court on August 13, 2014 [Docket No. 485].

Thus, Defendant must obtain authorization from the Eighth Circuit prior to filing

the instant § 2255 motion with this Court. 28 U.S.C. § 2255(h). Defendant has not

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received such authorization. Accordingly, the instant motion must be dismissed

for lack of jurisdiction. See, e.g., Boykin v. United States, 242 F.3d 373, 2000 WL

1610732, at *1 (8th Cir. 2000).

        B.    Relief under 28 U.S.C. § 2241

        In the alternative, Defendant characterizes his motion as a motion under §

2241.

        The Bureau of Prisons is responsible for computing the sentence
        credit after the defendant has begun serving his sentence. Prisoners
        are entitled to administrative review of the computation of their
        credits, and after properly exhausting these administrative
        remedies, an inmate may seek judicial review through filing a
        habeas corpus petition under 28 U.S.C. § 2241.

United States v. Tindall, 455 F.3d 885, 888 (8th Cir. 2006) (citations omitted).

        A § 2241 petition in such a case must be filed in the district in which the

petitioner is incarcerated. United States v. Chacon-Vega, 262 F. App’x 730, 731

(8th Cir. 2008). In this case, Defendant is incarcerated at FCI Pekin, located in

Pekin, Illinois, which is in the Central District of Illinois. Thus, this Court has no

jurisdiction to consider a motion filed under § 2241, and the motion must be

dismissed.

        C.    Request for Modification




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      To the extent that Defendant requests that the Court simply modify his

sentence, this Court has no jurisdiction to do so because more than fourteen days

have passed since the date of Defendant’s sentencing. See Fed. R. Crim. P. 35;

United States v. Austin, 217 F.3d 595, 597 (8th Cir. 2000).

IV.   CERTIFICATE OF APPEALABILITY

      With regard to the Court’s procedural rulings, the Court concludes that no

“jurists of reason would find it debatable whether the petition states a valid

claim of the denial of a constitutional right;” nor would “jurists of reason . . . find

it debatable whether the district court was correct in its procedural ruling.” Slack

v. McDaniel, 529 U.S. 473, 484 (2000). With regard to the Court’s decision on the

merits, it concludes that no “reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong.” Id. Therefore, the

Court denies a Certificate of Appealability in this case.




      Accordingly, based upon the files, records, and proceedings herein, IT IS

HEREBY ORDERED:

      1.     Defendant Deon Dimitri McGhee’s Motion to Alter Judgment
             of Sentence [Docket No. 533] is DENIED.


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     2.    The Court denies a Certificate of Appealability in this case.

     LET JUDGMENT BE ENTERED ACCORDINGLY.




Dated: April 8, 2016                 s/ Michael J. Davis
                                     Michael J. Davis
                                     United States District Court




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